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                       IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON



UNITED STATES OF AMERICA,                            Case No. 3:17-cr-267-SI (Lead)
                                                     Case No. 3:17-cr-271-SI
       v.
                                                     AMENDED ORDER REGARDING IN
GARY N. CRAMER, and                                  CAMERA DISCLOSURES RELATING
THERON J. MARRS,                                     TO MEGAN McNEAL, Psy.D.

                Defendants.

Michael H. Simon, District Judge.

       On March 24, 2020, the Court issued its Opinion and Order on Government’s Motion in

Limine to Exclude or Limit Expert Testimony. ECF 274. The Court’s Order primarily related to

the summary of expert testimony from Megan McNeal, Psy.D., submitted on behalf of

Defendant Theron J. Marrs (“Marrs”). The Order allowed Mr. Marrs until April 21, 2020, later

extended to June 9, 2020 (see ECF 279), to file a supplemental expert witness disclosure relating

to Dr. McNeal’s anticipated expert testimony. The Court directed that the supplemental

disclosure list, in separately numbered opinions and sub-opinions, each opinion and sub-opinion

that Dr. McNeal intends to testify about at trial, along with all bases and reasons for each opinion

and sub-opinion separately stated. On June 9, 2020, Mr. Marrs, through counsel, filed a

supplemental disclosure, in the form of a Confidential Psychological Report from Dr. McNeal.

See ECF 287. The Government has access to that report.


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       In addition, the Court’s Order dated March 24, 2020 stated:

                If Dr. McNeal has possession of or reviewed any “results or reports
                of any physical or mental examination” of Marrs that “relates to”
                the expert testimony that she intends to present at trial, those
                documents must be made available to the Government. See Fed. R.
                Crim. P. 16(b)(1)(B). This includes any of the documents or other
                materials that Dr. McNeal provided to Dr. Duncan, if those
                documents or materials “relate to” Dr. McNeal’s anticipated trial
                testimony. If, however, a document or other material relates solely
                and exclusively to Marrs’s competency to stand trial (which is not
                at issue), that document or material need not be provided to the
                Government. All documents and materials that Marrs must provide
                to the Government under this Order shall be provided by [June 9,
                2020]. In addition, to avoid any confusion or misunderstanding,
                any materials that Dr. McNeal provided to Dr. Duncan that are not
                disclosed to the Government by [June 9, 2020], shall be delivered
                to the Court for in camera review by [June 9, 2020]. Any such
                documents or materials sent to the Court for in camera review
                under this Order many be delivered in hard copy, by email, or by
                other electronic means to the Courtroom Deputy. If the Court
                believes that any document or other material reviewed by the Court
                in camera should be disclosed to the Government under
                Rule 16(b)(1)(B), the Court will give Marrs an opportunity to be
                heard ex parte on that issue before the Court makes a final ruling.

ECF 274 at 6-7 (emphasis added).

       On June 9, 2020, Mr. Marrs, through counsel, sent to the Court for in camera review

fifteen (15) items, which the Court will describe only in the most general of terms as follows:

       1.       A link to an online video;

       2.       Six (6) professional articles reviewed by Dr. McNeal;

       3.       A court document filed in a federal civil case;

       4.       A document related to CUSIP numbers;

       5.       Four (4) Government Trial Exhibits from this case; and

       6.       Dr. McNeal’s research notes; and

       7.       Dr. McNeal’s notes of her interview(s) with Mr. Marrs.




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       The Court has reviewed in camera these fourteen items and tentatively has concluded

that, if Mr. Marrs still intends to call Dr. McNeal as an expert witness at trial, then all fourteen

items should promptly be disclosed to the Government, pursuant to Rule 16(b)(1) of the Federal

Rules of Criminal Procedure. It does not appear to the Court that any of these items relates solely

and exclusively to Mr. Marrs’s competency to stand trial. Because they all appear to be material

that Dr. McNeal relied upon in forming her opinions and the bases for those opinions, they

should be disclosed to the Government. The Court, however, will afford Mr. Marrs an

opportunity to be heard on this issue, if he wishes. Not later than June 19, 2020, Mr. Marrs,

through counsel, shall, at his election, either: (1) provide copies of these items to the Government

and inform the Court that he has done so; or (2) submit to the Court an ex parte a memorandum

explaining his view why these items need not be produced to the Government, and the Court will

then promptly issue a ruling.

       IT IS SO ORDERED.

       DATED this 11th day of June, 2020.

                                                       /s/ Michael H. Simon
                                                       Michael H. Simon
                                                       United States District Judge




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